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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


JERRY L. HOFFMAN JR.
Plaintiff,

         v.                                  Case No. 2:23-cv-130-SPC-NPM
JOSE DELGADO AND CITY
OF PUNTA GORDA,
Defendants.
_____________________________/



              MOTION TO WITHDRAW INFORMA POPURIS (Doc. 35)


      Plaintiff withdraws Informa Popuris (Doc. 35). Plaintiff understands it is not

required or necessary and does not wish to burden the court.

Respectfully submitted
/s/ Jerry L. Hoffman Jr.
Jerry L. Hoffman Jr.
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Email: ImCatchULater@gmail.com
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                            Certificate of service


I HEREBY CERTIFY that on October 13, 2023, the undersigned filed a true and
correct copy of the foregoing with the Clerk of the Court via the CM/ECF system
and served a copy via email upon the following participant: Attorney for the
defendants, Frank Mari. (fmari@roperpa.com)


Respectfully submitted
/s/ Jerry L. Hoffman Jr.
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